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    CITY OF NEW YORK
    DEPARTMENT OF CONSUMER AFFAIRS
    ------------------------------------------------------------------X

    DEPARTMENT OF CONSUMER AFFAIRS,
                                                                           : CONSENT ORDER

                            Complainant,                                   :PROCESSSERVER
                                                                           I INDIVIDUAL
                                                                           I
                         -against-                                         1 License # 0820996
                                                                           I




    Azzam Abdenahman                                                       : Violation No. LL#5312945
    1614 65th Street
    Brooklyn, NY 11204

                             Respondent.

    ------------------------------------------------------------------)(
    Azzam Abderrahman ("Respondent") consents to this Consent Order ("CO" or
    "Agreement") to settle the above-captioned matter with the Department of Consumer
    Affairs ("DCA" or "the Department") and agrees as follows:

    I. DEFINITIONS

    A. "Affidavit of Service" or "Proof of Service" means a sworn statement in writing
       made under oath before a public notary in which the process server affirms that
       service of process in a matter was effectuated, the manner in which service was
       effectuated and other sworn statements.

    B. "Bound volume" means a book, logbook, process server record or ledger that, at the
       time of purchase, contains a specified number of unfolded sheets of paper or other
       material that are permanently secured to covers by stitching, glue such other method
       that is calculated to make readily discernable the removal or inclusion of one or more
       sheets after the first use of such volume.

    C. "Chronological" with respect to the notation in the process server record or logbook
       means that each notation shall be entered consecutively in order of date and time and
       that no blank spaces shall be left allowing the entry of an additional notation between
       any two notations.




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    D. "Contemporaneous" with respect to the entry of an event in a record or logbook
       means that each entry shall be made at or about the time as the act with respect to
       which the entry is made.

    E. A "contest to service of process" means a challenge to the service of process
       effectuated by a process server alleged in an answer, motion, or other pleading
       submitted in a judicial, administrative or other legal proceeding on the ground that the
       service did not comply with the requirements of New York State or other applicable
       law, including a hearing commonly known as a "traverse hearing," whether such
       challenge is waived, settled by stipulation or decided by court order after a hearing.

    F. "CPLR" means the New York Civil Practice Law and Rules.

    G. "Disposition" of a case or traverse hearing means the court's final decision on the
       matter.

    H. "Due diligence" in delivering process shall mean that three or more reasonable efforts
       were made to locate and deliver process personally to the person(s) to be served
       within the State.

    I.   "Logbook" shall mean the bound volume in which a process server maintains records
         of all attempted and effected services ofprocess, as prescribed by 6 RCNY § 2-233.

    J. "Material breach" means the failure to comply with this Agreement in whole or in
       part by commission or omission without legal excuse.

    K. "Paginated" means each page in the volume or logbook must contain either a page
       number in sequence starting with the number "1" at the time of purchase or an
       indelible label stating the number of pages the volume originally contained.

    L. "Person" shall mean any individual, firm, company, partnership, corporation,
       association or other organization.

    M. "Process" means a summons, notice of petition, order to show cause, subpoena,
       notice, citation or other legal paper issued under the laws of the State of New York
       directing an appearance or response to a legal action, legal proceeding or
       administrative proceeding; provided, however, that if under the laws of the State of
       New York the mailing of such legal paper is sufficient to effect service, such legal
       paper shall not be process for the purpose of this Agreement.

    N. "Reasonable efforts" means that attempts to serve process are made at times, dates or
       locations the Respondent knows the person to be served could reasonably be found.




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    0. "Reasonable efforts to effectuate service by personal delivery" means that the
       Respondent shall attempt personal delivery more than once and that he/she shall
       deliver process by conspicuous place service only after the third attempt to find the
       person to whom service must be delivered.

    P. "Reasonable efforts to locate" means that Respondent has made reasonable attempts
       to locate the person to be served and confirmed the address or location by dependable
       sources before delivering process.

    Q. "Same time" with respect to efforts to make delivery means within two hours before
       and after of an hour.

    R. "Serve" or "service" shall mean the delivery of process in a manner prescribed by the
       laws ofthe State ofNew York.

     S.   Other terms are defined in 6 RCNY § 2-231.

    II. INJUNCTIVE RELIEF

                                   Duty to Comply With Law

     1) Respondent shall strictly and promptly comply with all laws, rules, regulations and
        requirements of the federal, state and municipal authorities and this Agreement when
        servmg process.

                    Duties When Effectuating Service on a Natural Person

    2) When effectuating service of process by conspicuous place service, Respondent shall
       affix the process to be served to the door of the person to be served and to no other.

    3) When effectuating service of process by conspicuous place service, Respondent shall
       at all times attach the process to the dwelling place door of the person to be served
       with tape.

    4) When making diligent efforts to deliver process in accordance with the requirements
       of CPLR § 308, all attempts of service shall not be made on the same day and no two
       attempts at delivery shall be made at the same time on different days.

    5) Respondent shall make reasonable efforts to confirm whether the address at which
       service is attempted is the actual place of business, dwelling place or usual place of
       abode of the person to be served. Respondent shall make and maintain a record of
       those efforts, which shall include, but not be limited to, at least one of the following:
       inquiring of neighbors and other persons present at those locations, checking public




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       and commercial databases, and requesting information from the owner of the
       premises, if different from the person to be served.

    6) Respondent shall not deliver process at a location that he knows not to be the actual
       place of business, dwelling place, or usual place of abode of the person to be served,
       unless permitted by statute or by binding case law.

    7) Respondent shall always write "personal and confidential" on the mailing envelope
       when delivering or completing service by mail to a business address.

    8) Respondent shall insure that any mailing is made to the location indicated by the
       applicable law.

    9) Respondent shall not indicate on mailing envelopes that the communication is from
       an attorney or concerning an action against the person sought to be served.

                               Duty to Maintain Proper Records

    10) Respondent shall maintain records of attempted and effected service of process in the
        City ofNew York as required by General Business Law§ 89-cc and 6 RCNY §§ 2-
        233,233a,233b,235.

                                       Affidavits of Service

    11) Respondent shall maintain electronic copies of all affidavits of service signed by
        him/her. Each affidavit of service shall be maintained as a separate electronic file and
        the electronic files shall be maintained chronologically and named in the following
        manner:

           Example: smithj-20120101-1
           Process Server Last Name and First Initial (no spaces)-
           Date of Service (YYYYMMDD)-
           Unique Identifying Number (to distinguish between multiple services on the
           same date).

                                            Logbooks

    12) Respondent shall maintain a record of all service attempted or effected by him/her in
        the City of New York in a bound volume, which shall mean a book or ledger that at
        the time of purchase contains a specified number of unfolded sheets of paper or
        other material that are permanently secured to covers by stitching, glue, or any other
        such method that is calculated to make readily discernable the removal or insertion of
        one or more sheets after the first use of such volume. The bound volume is often
        referred to as the process server's logbook.




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    13) All service attempted or effected by Respondent in the City of New York shall be
        entered in a single logbook until it is complete.

    14) Respondent shall ensure that each page in his/her logbook, at the time of purchase,
        is sequentially numbered starting with the number 11 1 11 or contains an indelible label
        stating the number of pages the volume originally contained.

    15) All entries shall be made contemporaneously, which shall mean at or near the time of
        the event as to which an entry is recorded, or within a reasonable time thereafter.

    16) All entries shall be made in chronological order, which shall mean that each entry be
        entered sequentially according to the time and date of the activity recorded and
        without leaving any blank spaces between each entry that would allow for the
        insertion of any additional notation between any two entries ..

    17) Each entry in the logbook shall be legible, meaning easily read and discernible in all
        of its details, and in no way obscured.

    18) Corrections shall be made only by drawing a straight line through the inaccurate entry
        and clearly printing the accurate information directly above the inaccurate entry. All
        other methods of correction, including but not limited to, erasing, opaquing,
        obliterating, or redacting, are prohibited.

    19) Respondent shall maintain separate entries in each logbook for every attempted and
        effected service of process (i.e, entries for attempted and effected services cannot be
        combined on the same line).

    20) Respondent shall maintain in his/her hardcopy logbooks all information required by
        General Business Law § 89-cc and 6 RCNY § 2-233 with respect to every case in
        which he/she attempts or effectuates service of process, including but not limited to
        the following:

           a. the name and license number of the process serving agency from whom the
           process served was received, or, if not received from a process serving agency, of
           such other person or organization from whom the process served was received

           b. the title ofthe action (ifthere is one) or a reasonable abbreviation thereof

           c. the name ofthe individual, company or organization served, if known

           d. the date and approximate time service was effected

           e. the address where service was effected

           f. the nature of the papers served




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           g. the court in which the action has been commenced

           h. the index number of the action, if known

           1.   the description of the individual served, if applicable

           J. the type of service effected (personal, substituted, conspicuous, or corporate)

           k. for service of process effected by conspicuous service, the color and
           composition of hallway walls adjacent to the door to which process was affixed

           1. for service of process effected by conspicuous service, the color and
           composition of the hallway floor or doorstep

           m. for service of process effected by conspicuous service, the location of the
           premises in relation to stairs, elevators or entranceways

           n. for service of process made pursuant to RPAPL § 735(1) using registered or
           certified mail, the postal receipt number of the registered or certified mail

                                       Electronic Records and GPS

    21) Respondent shall maintain records of attempted and effected service of process in the
        City of New York in an electronic format that is resistant to tampering, as prescribed
        by 6 RCNY § 2-233a(a).

    22) Respondent shall maintain the electronic records that are required to be maintained
        pursuant to 6 RCNY § 2-233a by choosing one of the following methods:

           Method 1: Scanning logbooks into image files (e.g., .PDF or .TIFF) and
           backing up the files to a portable media device in accordance with 6
           RCNY § 2-233a(a)(l).

           Method 2: Inputting information into the DCA-created Excel spreadsheet
           (available on the DCA website) and backing up the file to portable media
           devices in accordance with 6 RCNY § 2-233a(b)(l).

           Method 3: Uploading data to a third party service provider in accordance
           with 6 RCNY § 2-233a(b)(l).

    23) If Respondent chooses to maintain electronic records by using Methods 2 or 3,
        Respondent shall ensure that the following information is contained in each entry:




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          a. the name of the individual process server to whom service was assigned,
          entered in two fields (last name, first name)

          b. the license number of the individual process server to whom service was
          assigned, entered as a seven digit number, where the first number is zero if the
          process server's license number is less than seven digits

          c. the title of the action or proceeding, if any

          d. the name of the individual, company or organization served, if known

          e. the date that service was effected, entered as MM/DD/YYYY

          f. the time that service was effected, entered as military time

          g. the address where service was effected, entered as three different fields such
          that
          one field will be for the street address and any apartment number, the second field
          will be for the city or borough, and the third field will be for zip code

          h. the nature of the papers served

          i. the court in which the action was commenced, entered as either Civil Court
          NYC,
          Civil Supreme, Criminal, Housing(LIT), or District Court, followed by the county
          of the court, the judicial department if appellate, or the federal district

          j. the full index number, entered with all information necessary to identify the
          case,
          such as XXXXX/XX, unless the case is a Civil Local matter, in which case, it will
          include the prefix of CV, CC, LT, MI, NC, RE, SC, or TS

          k. if service was effected pursuant to subdivisions (1) through (3) ofCPLR §308,
          a
          description of the person served, consisting of six fields, including sex, hair color,
          approximate age, height, weight, and any other identifying features provided by
          the process server

          1. whether service was delivered, as indicated by a Y or N

          m. the type of service effected, entered as a P for personal service, an S for
          substitute
          service, a C for conspicuous service, or a CO for corporate service




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           n. if service was effected pursuant to subdivision (4) of CPLR §308 or
           subdivision
           one ofRPAPL §735, a description ofthe door and the area adjacent

    24) In every instance in which Respondent attempts or effects service of process in New
        York City, Respondent shall, immediately after attempting or effecting service, create
        an electronic record of the location, time and date of the attempted or effected service,
        as determined by Global Positioning System ("GPS") technology or, in the event that
        no GPS signal is available at the time of attempted or effected service of process, the
        location, time and date as determined by triangulated cell tower signals.

    25) Except when Respondent attempts or effects service of process at multiple apartments
        or offices within the same building, in every instance in which Respondent attempts
        or effects service of process in New York City, Respondent shall ensure that his/her
        GPS records include a photograph of the outside of the building where Respondent
        attempted or effected service of process. The photograph must include the entire
        front entrance door to the building, which shall take up no more than one-third of the
        photograph. The photograph should include, if possible, the number of the building
        as well. If Respondent attempts or effects service of process at multiple apartments
        or offices within the same building, only the GPS record corresponding to the last
        attempted or effected service of process within the building must include a
        photograph of the outside of the building where Respondent attempted or effected
        service of process. Where Respondent is unable to obtain a GPS or cellular signal in
        the direct vicinity of the building where process was attempted or effected,
        Respondent shall, as soon as a GPS or cellular signal becomes available:

           a. take a photograph of the outside ofthe nearest building in accordance with the
              instructions above; and

           b. indicate in the GPS record the address of the photographed building or the
              nearest cross-section.

    26) Prior to signing this Consent Order, Respondent shall enter into a contract with an
        independent third party ("the Contractor") pursuant to which the Contractor will
        provide services and perform functions described below that enable Respondent to
        meet the data storage and retrieval requirements set forth below, provided, however,
        that if Respondent performs process serving activities distributed to him or her by a
        licensed process serving agency, the process server may utilize the device and
        facilities for the electronic record of service that the process serving agency obtains
        under a contract with a Contractor. Respondent shall ensure that the Contractor store
        each electronic record of service according to the following terms:

           a. the original digital file must be maintained by the Contractor unaltered for a
           period of not less than seven years;




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          b. neither Respondent nor the process serving agency will be permitted to alter
          the original data, but may obtain copies of the original data file;

          c. the Contractor must maintain the records in a manner that will permit retrieval
          by the DCA license number of the process server, the DCA license number of the
          process serving agency that has distributed the process for service, the name of
          the plaintiff or petitioner, the name of the defendant or respondent, the docket
          number (if any), the name of the person to whom process is delivered and a
          unique file identifier of the process being served;

          d. the Contractor must maintain the records in a manner that will ensure that their
          integrity is adequate for admissibility in a judicial proceeding under the rules of
          evidence applicable in the state ofNew York;

          e. the Contractor must produce upon request by the Department, and to any other
          party according to an appropriate order or subpoena, a copy of the electronic
          records, or any . reasonably described part involved, certified to be true and
          accurate;

          f. the Contractor must provide to the Department upon request a street map in
          hard copy format and access to an interactive electronic street map that display
          the locations where the digital records were recorded with a date and time
          provided by GPS or cellular date and time;

          g. the Contractor must provide to the Department upon request, and to any other
          party according to an appropriate order or subpoena, such software as may be
          necessary to display the electronic records in an MS Excel spreadsheet, 2003
          version or later, with the following fields and in the following data formats:

          •   a unique file identifier of the process being served;
          •   the process server's license number;
          •   the process serving agency's license number;
          •   Plaintiff or petitioner, which must be specified by the last name of the first
              plaintiff, or, if not a natural person, the name of the entity, except that the field
              may contain the name of every plaintiff or petitioner in the case, provided that
              the entire record is searchable by a wildcard search of the name of any
              plaintiff or petitioner;
          •   Defendant or respondent, which must be specified by the last name of the first
              defendant, or, if not a natural person, the name ofthe entity, except that the
              field may contain the name of every defendant or respondent in the case,
              provided that the entire record is searchable by a wildcard search of the name
              of any defendant or respondent;
          •   the full docket/index number, which must be entered with all information
              necessary to identify the case, such as XXXXXX/XX, unless the case is a




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               Civil Local matter, in which case, it will include the prefix of CV, CC, LT,
               MI, NC, RE, SC, or TS;
           •   the date that service was effected or attempted according to the device,
               which must be entered as MM/DD/YYYY;
           •   the time that service was effected or attempted according to the device,
               which must be entered in military time;
           •   the date that service was effected or attempted according to GPS or cellular
               signals, which must be entered as MM/DD/YYYY;
           •   the time that service was effected or attempted according to GPS or cellular
               signals, which must be entered as military time;
           •   the address where service was effected or attempted, which must consist of
               four fields in the following order: building number, street name, city, and zip
               code, which must be five digits. All address information must be CASS
               (Coding Accuracy Support System) processed to insure its accuracy with
               software graded to be CASS Certified by the National Customer Support
               Center of the United States Postal Service;
           •   the name of the intended recipient of the process, which must be entered in
               two data fields such that the first data field is the last name of the intended
               recipient, or, if not a natural person, the name of the entity, and the second
               data field is the first name of the intended recipient if a natural person; and
           •   the name of the person to whom process was delivered, which must be entered
               in two data fields such that the first data field is the last name of the person,
               and the second data field is the first name of the person.

                     Completion of Affidavits and other Proofs of Service

    27) Respondent shall strictly and promptly conform to all federal, state and municipal
        laws, rules, regulations and requirements relating to the preparation, notarization and
        filing of affidavits of service, as required by 6 RCNY § 2-234.

    28) Respondent's affidavits of service shall be truthful, contain all information required
        by law, and contain the following facts, where applicable:

           a. Respondent's license number;

           b. Except where the process effectuated was not received from a process serving
              agency, the name and address of the process serving agency from whom the
              process served was received;

           c. A detailed description of Respondent's efforts to effectuate personal delivery
              within the State;

           d. Respondent's source of the information about the whereabouts of the person
              to be served;




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            e. A description of Respondent's efforts to confirm the information about the
               whereabouts ofthe person to be served;

            f.   The location and detailed description of the place where delivery was
                 effectuated;

            g. The time that process was delivered;

            h. Whether the Respondent made use of a picture or other physical
               representations of the person(s) to be served when delivering process;

            1.   A description of the age, height, weight, skin color, and hair color of the
                 person to whom delivery of process was made;

            J.   Whether Respondent knows or does not know the name(s) of the person(s) to
                 whom service was delivered.

            k. The name and description of any witnesses to the delivery of process;

            1.   Where service of process is accomplished by personal delivery, all
                 information confirming that Respondent knew the person to whom process
                 was delivered to be the actual intended recipient of the process; and

            m. Where information required is unknown, Respondent shall clearly state so in
               the affidavit.

     29) Respondent shall not sign or notarize or cause to be signed or notarized any affidavit
         of service until all factual averments have been set forth.

     30) Respondent shall not sign his/her name on any affidavit containing any information
         that has the capacity, tendency or effect of intentionally misleading a reader of the
         affidavit.

     31) Any affidavit affirmed by Respondent that has the capacity, tendency or effect of
        misleading a reader of the affidavit shall be considered intentional if there are
        repeated similar acts because of Respondent's or Respondent's agent's use of canned
        or form language.

     32) It shall be the Respondent's burden to show that he/she did not intend the affidavit to
         be misleading.

     33) Respondent shall not use fictitious names in his/her affidavit to refer to defendants or
         persons, except when Respondent is unable to obtain the name of the person. Where
         Respondent is unable to obtain the first name of the person, Respondent shall use
         either "John" (for a male) or "Jane" (for a female) to represent the first name of the




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       person. When Respondent is unable to obtain the last name of the person,
       Respondent shall use "Doe" to represent the last name of the person.

             Duty to Maintain List of Process Server Agencies Assigning P•·ocess

    34) Respondent shall maintain a list of the name and address of each process serving
        agency from whom Respondent received process to be served in New York City. The
        process server shall maintain the list for seven (7) years and produce it upon request
        by the Department, as required by 6 RCNY § 2-234b.

                         Duty to Report Contested Service of Process

    35) Whenever Respondent receives any type of notice, including an oral communication,
        that a court has scheduled a hearing concerning a contest to service of process by
        Respondent (a.k.a. "traverse hearing"), Respondent shall submit a report to the
        Department, within ten days of receiving such notice, using the traverse report form
        titled "Traverse Report Form For Process Servers/Agencies Who Signed A Consent
        Order," available on the Department's website (nyc.gov/dca). Respondent shall
        submit      the   completed     traverse    report     form     by     e-mail     to:
        traversereports@dca.nyc.gov.
    36) Each traverse report form notifying the Department of a scheduled traverse hearing
        shall minimally include the following information:

       a. The date of the hearing;

       b. The name ofthe court, county, and judge before whom the hearing is scheduled;

       c. The index number of the action or proceeding;

       d. The name of the petitioner or plaintiff;

       e. The name of the respondent or defendant;

       f.   The process server's name;

       g. The process server's license number; and

       h. The name of the process servmg agency on behalf of whom service was
          effectuated;

    37) Respondent shall learn the result of each scheduled traverse hearing that concerns
        service of process by Respondent, including any judicial order, waiver of the hearing
        or voluntary settlement resolving the challenge to service of process.




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     38) Respondent shall obtain a copy of the court's order or decision on any traverse
         hearings that actually occur, including any stipulation or court file jacket setting forth
         the final disposition of the matter.
     39) Within ten days of learning the result of a traverse hearing, including any judicial
         order, waiver of the hearing or voluntary settlement resolving the challenge to service
         of process, Respondent shall notify the Department of the result by submitting a
         traverse report to the Department by email, to: traversereports@dca.nyc.gov, using
         the traverse report form titled "Traverse Report Form For Process Servers/Agencies
         Who Signed A Consent Order," available on the Department's website (nyc.gov/dca).

     40) Respondent shall append a copy of the court's order or decision on any traverse
         hearings that actually occur to Respondent's traverse report, including any stipulation
         or court file jacket setting forth the final disposition of the matter.
     41) Respondent and the process serving agency for whom he or she serves process must
         each submit a completed Traverse Report Form upon learning of the scheduling of a
         traverse hearing and learning the result of a traverse hearing.

     42) Respondent shall maintain, in one Microsoft Excel file, an electronic record of every
         traverse hearing scheduled concerning service of process by Respondent. This shall
         be done by using the Excel spreadsheet titled "Record of Scheduled Traverse
         Hearings," available on the Department's website (nyc.gov/dca).

                                      Providing Identification

     43) Respondent may not possess, display or wear any badges, insignias, shields, medals
         or decoration while serving process.

     44) Respondent shall display his Department identification card upon request of a person
         upon whom Respondent is attempting service or any other interested person.

                                        Training and Exams

     45) Respondent shall attend any future training about the laws and regulations that relate
         to and govern the service of process in the City of New York upon notice from the
         Department that it has determined that there is available within the City ofNew York
         one or more programs that provide such training in a satisfactory manner.

     46) Respondent's failure to provide proof of having attended such training, after notice
         has been issued that such training is available, shall be sufficient grounds for the
         revocation of his or her license or denial of his or her license renewal application until
         such time as this requirement is met.




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                                     Inspection of Records

    47) Upon notification from the Department, Respondent shall appear at the Department
        for a review of Respondent's compliance with the terms of this Agreement and such
        other issues as the Department, in its discretion, deems appropriate. Respondent shall
        produce such records as the Department may request at the scheduled meeting.
        Failure to appear at a scheduled meeting or produce requested documents will
        constitute a violation of this Order.

    III. FINES

    48) Respondent shall pay a fine of $250 in settlement of all the violations to date in the
        above-referenced matter. Payment is due upon execution of this CO.

    IV. RESOLUTION OF CONSUMER COMPLAINTS

    49) Respondent shall provide to the Department a reply to all consumer complaints to the
        Department relating to Respondent's process serving activity within ten (1 0) business
        days of receiving the complaint.

    50) Respondent shall respond to any subsequent communications from the Department
        concerning the complaint within five (5) business days.

    5l)Nothing in this provision waives or diminishes Respondent's obligation to comply
       with Title 6 ofthe Rules ofthe City ofNew York, Section 1-13.

    52) Respondent shall provide to the Department a copy of every written complaint that
        Respondent receives from any other governmental or non-governmental entity and
        Respondent's response thereto within ten days of Respondent's receipt of the
        complaint. Respondent shall report to the Department the resolution of every such
        complaint and provide a copy of any writing setting forth the resolution within ten
        (1 0) business days of learning such resolution.

    V. RESPONDENT'S DUTY TO REPORT CHANGES OF ADDRESS TO THE
       DEPARTMENT

    53) Respondent affirms that the address and telephone number listed with the Department
        are current and correct.

    54) Respondent represents that the following is his e-mail address:



       Respondent acknowledges that the Department intends to use this e-mail address to
       communicate official matters to Respondent and Respondent agrees to accept such
       communications and respond to them in a timely manner.




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     55) Respondent shall notify the Department when his or her address, telephone number or
         e-mail address changes, in writing, within ten ( 10) days of such change.

     56) Respondent shall provide such notification in writing to the Department's Licensing
         Division at 42 Broadway, 51h Floor, NY, NY 10004 and to the Department's Legal
         Division at 42 Broadway, 9th Floor, NY, NY 10004.

     57) Respondent's failure to notify the Department of any change in address in a timely
         manner shall be sufficient grounds for the suspension of any Department license held
         by Respondent for a period of not less than three months, upon proof of the failure to
         notify the Department of such change and an opportunity to be heard.

     58) Respondent's failure to respond to any Department communication within the period
         specified in this Agreement or by law shall be deemed Respondent's failure to notify
         the Department of his or her whereabouts, and shall be sufficient grounds for the
         suspension of any or all of Respondent's Department licenses, upon proof of such
         failure to respond and an opportunity to be heard.

     VI.         RESPONDENT'S DUTY TO RESPOND TO ALL REQUESTS FOR
                 INFORMATION ON CRIMINAL COMPLAINTS OR ARRESTS

     59) Respondent will respond within the time required to any correspondence from the
         Department requesting further information on the status or disposition of any criminal
         complaints or arrests of Respondent.
            ·-
       60.) Re~pondent's failure to respond within the time required to any correspondence from
        ::~ th~;bepartment regarding the status or disposition of any criminal complaint or arrest
   - ::~::.~: of~Respondent will be considered a breach of this Agreement and shall be sufficient
             · grounds for the suspension of Respondent's license, upon proof of such failure and an
          · opportunity tb b'e heard. ·

     VII.        BREACH OF THIS AGREEMENT

     61) A finding, after notice and hearing, that Respondent has committed a material breach
         of the terms of this Agreement shall be sufficient grounds for the revocation of
         Respondent's license and for ineligibility to be licensed for a period of five (5) years.

     62) Specific violations of this Agreement shall constitute independent and separate
         violations of any applicable law, regulation or rule.

     63) Violations of laws, violations of Department rules and violations of this Agreement
         shall be assessed as separate fines, with a maximum penalty of $1,000.00 each.

     64) The following conduct shall also be grounds for revocation of any or all of
         Respondent's Department licenses:




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           a. Respondent's failure to pay any restitution or fine ordered by the
              Department's administrative tribunal; or

           b. Respondent's failure to pay any consumer restitution awarded by any other
              court or administrative body of competent jurisdiction within thirty days of
              Respondent's receipt of the decision of such court order or the exhaustion of
              all appeals therefrom, whichever is later.


    VIII. WAIVER OF APPEALS
    65) Respondent waives any right to a hearing, appeal of or any challenge of the facts
        alleged by the above-referenced violation under Section 20-1 04 of the New York City
        Administrative Code or under Article 78 of the New York State Civil Practice Law
        and Rules, Sections 7801-7806, in any forum.

    IX.    DEPARTMENT'S AUTHORITY
    66) Nothing in this Agreement shall be construed to limit in any way the authority of the
        Department to exercise its regulatory or enforcement powers under Sections 20-1 04
        or 20-409 of the Code.

    Agreed to by Respondent                         Accepted for the NYC Department of
                                                    Consumer Affairs               -
                                                                                   w

                                                    Jonathan Mintz,                 ~
                                                    Commissioner


    By: Azzam Abdcrrahman                           By:




                            (-il-l~
                          Date


    Businesses licensed by the Department of Consumer Affairs (DCA) must comply with all
    relevant local, state and federal laws. Copies ofNew York City licensing and consumer
    protection laws are available in person at DCA's Licensing Center, located at 42
    Broadway, 5th Floor, New York, NY, by calling 311 , New York City's 24-hour Citizen
    Service Hotline, or by going online to www.nyc.gov/consumers.




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                    ATTACHMENT A
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                                  Department of
                                  Consumer Affairs

    TRAVERSE REPORT FORM FOR PROCESS SERVERS WHO SIGNED A
             CONSENT ORDER WITH THE DEPARTMENT

    Under New York City law, licensed process servers and process serving agencies must report a
    scheduled traverse hearing (hearing contesting service) to the Department of Consumer Affairs
    (DCA) within 10 days of receiving oral or written notice. See Title 6, Rules of the City of New
    York§ 2-236(a). Licensees may use Part I ofthis form to report the scheduled hearing. Please
    submit this form and any attachments to DCA bye-mailing it to TraverseReports@dca.nyc.gov.

    Note: The licensed process server individual and the process serving agency for whom the individual
    serves process must each submit a completed Traverse R eport Form.

    PART I- REPORT OF HEARING

    Date of Hearing

    Court                                                   County

    Part                                                    Index No.

    Judge

    Petitioner/Plaintiff                                    Petitioner/Plaintiffs Attorney (include firm's name)



    Respondent/Defendant                                    Respondent/Defendant's Attorney (include firm's name)



    Date of Service

    Process Server Name                                     DCA License No.

    Process Serving Agency Assigning Service

    Indicate Whether This Report is Being Submitted By the Individual Process Server OR the Process Serving Agency




    Signature _ _ _ __ _ _ _ _ __ __ __ __ _ __ _ _                               Date _ _ __ __ _ __

    IMPORTANT: Licensed process servers and process serving agencies must report the result of
    the traverse hearing to DCA within 10 days of learning it. Licensees may use Part II of this form
    to report the result.
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                               Department of
                               Consumer Affairs


    TRAVERSE REPORT FORM FOR PROCESS SERVERS WHO SIGNED A
             CONSENT ORDER WITH THE DEPARTMENT

    PART II- REPORT OF RESULT

    The licensed process server individual shall learn the result of each scheduled traverse hearing
    that concerns service of process by him or her, including any judicial order, waiver of the hearing
    or voluntary settlement resolving the challenge to service of process.
    The licensed process server individual shall also obtain a copy of the court's order or decision on
    any traverse hearings that actually occur, including any stipulation or court file jacket setting
    forth the final disposition of the matter.
    Within ten days of learning the result of a traverse hearing, the licensed process server shall
    notify the Department of the result by submitting this traverse report, by e-mail, to
    traversereports@dca.nyc.gov. The licensed process server shall append a copy of the court's
    order or decision to the e-mail.

    Result (Check ONE box only.)
    Traverse was:
    0 Sustained (improper service)
    0 Overruled (proper service)
    0 Decision Reserved
    0 Settled
    Comments




    Signature _ _ _ _ _ __ _ _ __ __ __ __ __ ____;Date _ _ _ _ _ __ _
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              ATTACHMENT B
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